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EXHIBIT D

 
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August 3, 2017

By FedEx and Email

Tomer Tagrin, Founder and CEO

Tom Rotem, VP Business Development and US
Operations

Yotpo NYC

33 W. 19th Street

New York, NY 10011

Re: Michael Dardashtian's Continuing Confidentiality Obligations
Dear Mr. Tagrin and Mr, Rotem:

This firm represents David Gitman, co-Member of Cooper Square Venture, LLC ("CSV") with
Michael Dardashtian. The purpose of this letter is to provide Yotpo with notice regarding Mr.
Dardashtian's continuing obligations of confidentiality regarding customer lists, processes and designs
and Yotpo’s potential liability in connection with its tortious interference with Mr, Dardashtian’s obligations.
We demand thal Mr. Dardashtian cease and desist from any violations of his confidentiality obligations
owed under CSV's Operating Agreement.

Specifically, under Section 12.2 of the Operating Agreement, entitted Confidentiality, each
Member agrees that he "will not, at any time or in any manner, either directly or indirectly, publish,
communicate, divulge, disclose, disseminate or otherwise reveal to any person or entity, or use for any
purpose whatsoever any Confidential Information.” Operating Agreement §12.2(a), Confidential
Information, in turn, is defined to include, among other things, any of CSV's “processes, data, designs,
compilations of information, apparatus, computer programs, information of or relating to suppliers or
customers, customer requirements, cost or price data, research dala, business plans, marketing or sales
plans or information, . . .policies or procedures, sales know-how or any olher information that may be
considered to be proprietary to or a trade secret of" CSV's, whether or not such information is considered
a trade secret within the meaning of the applicable law. Operating Agreement § 12.2(b).

CSvV's customer lists and its process and design feedback management feature are Confidential
Information under the Operating Agreement. Any use of such confidential and proprietary information by
Mr. Dardashtian or Yotpo, a direct competitor of CSV's, is in violation of the restrictions set forth uncer
Section 12.2, We have reason to believe that certain of CSV's customers have become Yotpo's
customers since Mr. Dardashtian has joined Yotpo. We also understand that Yotpo may now be using a
feedback management feature that uses Confidential Information under the Operating Agreement. To the
extent Mr. Dardashtian has been or is divulging, disclosing, disseminating, otherwise revealing or using
for any purpose Confidential Information, including customer lists and the process and design of tha
feedback management feature, Mr. Dardashtian and Yotpo should stop immediately.

 
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In view of the foregoing, Mr. Gitman demands that Yotpo ensure that Mr. Dardashtian cease and
desist from using "for any purpose whatsoever" Confidential Information under the Operating Agreement.
Please confirm in writing that Yotpo understands its ongoing obligations not to torliously interfere with Mr.
Dardashtian’s obligations, and that Mr. Dardashtian will adhere to those continuing obligations. Mr.
Gitman reserves all rights

Sincerely, ~
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LO Mp Af 0
Mark D. Meredith
Senior Attorney

ce: Barry Guaglardi, Esq. (for Mr. Dardashtian)

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